SETTLEMENT AGREEMENT

This Settlement Agreement is made and entered into by and among
defendant Panasonic Corporation, on its own behalf and on behalf of
defendants Panasonic Corporation North America, SANYO Electric Co.,
and SANYO North America Corporation (together, “Panasonic”); and
the certified Class (the “Class” or “Plaintiffs”), as defined below, of
direct purchasers represented by Named Plaintiffs Chip-Tech, Ltd.,
Dependable Component Supply Corp., e[Q Energy, Inc., and Walker
Component Group, Inc. (collectively, the “Named Plaintiffs” or “Class
Representatives”), who have filed suit as representatives of a class of
similarly situated direct purchasers of aluminum, tantalum and film
capacitors (“Capacitors”), as defined below, in the class action Jn re
Capacitors Antitrust Litigation, Master Docket No. 3:17-md-02801,
Civil Action No. 14-cv-3264-JD, currently pending before the
Honorable James Donato in the United States District Court for the
Northern District of California. Plaintiffs enter into this Settlement

Agreement both individually and on behalf of the Class they represent.

302774488 v1
This Settlement Agreement is intended by the Settling Parties (as
defined below) to fully, finally, and forever resolve, discharge, and settle
the Released Claims (as defined below), upon and subject to the terms
and conditions hereof.

WHEREAS, the Class is prosecuting the Action, as defined below,
on behalf of the Class and all Class Members against Panasonic and
other Defendants and alleged co-conspirators;

WHEREAS, the Class alleges, among other things, that Panasonic
participated in an unlawful conspiracy to fix prices and allocate markets
for Capacitors in violation of Section 1 of the Sherman Act, 15 U.S.C.

§ 1 et seq. (“Sherman Act”);

WHEREAS, Panasonic has confirmed its status as the leniency
applicant seeking a reduction in civil liability by offering cooperation in
civil litigation related to a criminal proceeding under the Antitrust
Criminal Penalty Enhancement and Reform Act (ACPERA) of 2004, as
amended in 2010;

WHEREAS, Panasonic has denied and continues to deny certain

of the Class’s claims and allegations of wrongdoing; and further denies

2

302774488 v1
the allegations that the Class suffered class-wide harm caused by any
conduct by Panasonic alleged in the Action or otherwise;

WHEREAS, the Class and Defendants have engaged in extensive
discovery regarding the facts pertaining to the Class’s claims and
Defendants’ defenses;

WHEREAS, the Class and Panasonic agree that neither this
Settlement Agreement nor any statement made in the negotiation thereof
shall be deemed or construed to be an admission or evidence of any
liability or wrongdoing by Panasonic or of the truth of any of the claims
or allegations alleged in the Action;

WHEREAS, the Class has thoroughly analyzed the facts and the
law regarding the Action and has concluded that a settlement with
Panasonic at this time according to the terms set forth below is fair,
adequate and reasonable, and in the best interest of the Class;

WHEREAS, Panasonic has concluded, despite its belief that it is
not liable to the entire Class for the claims asserted against it in the
Action and that it has good defenses thereto, that it will enter into this

Settlement Agreement to avoid further expense, inconvenience, and the

3

302774488 vi
distraction of burdensome and protracted litigation, and thereby to put to |
rest this controversy with respect to the Class and avoid the risks
inherent in complex litigation;

WHEREAS, arm’s-length settlement negotiations have taken
place between counsel for the Class and Panasonic, and through
mediation conducted by Antonio Piazza of Mediated Negotiations;

WHEREAS, this Settlement Agreement is to resolve the Class’s
claims in this Action against Panasonic only with respect to U.S.
Purchases of Capacitors, as defined below; and

WHEREAS, this Settlement Agreement embodies all of the terms
and conditions of the settlement between the Class and Panasonic, both
individually and on behalf of the Class; has been reached as a result of
the parties’ negotiations (subject to the approval of the Court) as
provided herein; and is intended to supersede any prior agreements
between the Settling Parties.

NOW, THEREFORE, IT IS HEREBY STIPULATED AND
AGREED, by and among the Settling Parties, by and through their

undersigned attorneys of record, in consideration of the covenants,

4

302774488 v1
agreements, and releases set forth herein and for other good and valuable
consideration, that the Action be finally and fully settled, compromised,
and dismissed on the merits and with prejudice as to Panasonic only,
without costs as to the Named Plaintiffs, the Class, or Panasonic, upon
and subject to the approval of the Court, on the following terms and
conditions:

Definitions

The following terms, as used in this Settlement Agreement, shall
have the following meanings:

a. “Action” means the direct purchaser action captioned Jn re
Capacitors Antitrust Litigation, Master Docket No. 17-md-02801-JD,
Civil Action No. 14-cv-3264-JD, pending in the United States District
Court for the Northern District of California.

b. “Affiliates” means entities controlling, controlled by or under
common control with another entity.

c. “Authorized Claimant” means any member of the Class who,
in accordance with the terms of this Settlement Agreement, submits a

timely claim that is accepted by the Claims Administrator and approved

302774488 vi
by the Court in accordance with the applicable distribution plan or order
of the Court ordering distribution to the Class.

d. “Capacitors” means aluminum, tantalum and film capacitors,
as they have been defined in the Consolidated Third Amended Class
Action Complaint.

e. “Claims Administrator” means the entity engaged by the
Class to administer the settlement, including but not limited to
disseminating notice, receiving claims, and disbursing the Settlement
Fund.

f. “Class” means the certified class of direct purchasers as
defined in the Order Granting DPPs’ Motion for Approval of Plan for
Notice of Pendency of Class Action, ECF No. 493 (entered February 28,
2019) in the Action, as follows:

All persons (including individuals, companies, or other
entities) that purchased Capacitors (including through
controlled subsidiaries, agents, affiliates, or joint
ventures) directly from any of the Defendants, their
subsidiaries, agents, affiliates, or joint ventures from
January 1, 2002 to December 31, 2013 (the “Class
Period”), and such persons are: (a) inside the United
States and were billed or invoiced for capacitors by

one or more Defendants during the Class Period (.e.,

6

302774488 v1
g.

therein.

h.

1.

where capacitors were “billed to” persons within the
United States); or (b) outside the United States and
were billed or invoiced for capacitors by one or more
Defendants during the Class Period, where such
capacitors were imported into the United States by one
or more Defendants (1.e., where the capacitors were
“billed to” persons outside the United States but
“shipped to” persons within the United States).

Excluded from the Class are: (1) Defendants (and their
subsidiaries, agents, and affiliates); (2) shareholders
holding more than 10% equity interest in Defendants;
(3) each member of the Class that timely requests
exclusion by “opting out”; (4) governmental entities;
and (5) the judges and chambers staff in this case,
including their immediate families.

“Class Action” means the Action and all cases consolidated

“Class Counsel” refers to the Joseph Saveri Law Firm, Inc.

“Class Member” means a person that falls within the

definition of the Class and that has not timely and validly excluded itself

from the Class in accordance with the procedures established by the

Court, or has otherwise been excluded from the Class by order of the

Court.

302774488 v1
j. “Class Period” means the period from and including January
1, 2002 up to and including December 31, 2013.

k. “Court” or “District Court” means the United States District
Court for the Northern District of California.

l. “Defendants” means AVX Corporation; ELNA Co., Ltd.;
ELNA America Inc.; Fujitsu, Ltd.; Hitachi Chemical Co., Ltd.; Hitachi
AIC Inc.; Hitachi Chemical Co. America, Ltd.; Holy Stone Enterprise
Co., Ltd.; Milestone Global Technology, Inc. (D/B/A HolyStone
International); Vishay Polytech Co., Ltd.; KEMET Corporation;

KEMET Electronics Corporation; Matsuo Electric Co., Ltd.; TOKIN
Corporation (f/k/a NEC TOKIN Corporation); TOKIN America, Inc.
(f/k/a NEC TOKIN America, Inc.); Nichicon Corporation; Nichicon
(America) Corporation; Nippon Chemi-Con Corporation; United Chemi-
Con, Inc.; Nissei Electric Co., Ltd.; Nitsuko Electronics Corporation;
Okaya Electric Industries Co., Ltd.; Okaya Electric America Inc.;
Panasonic Corporation; Panasonic Corporation of North America;
SANYO Electric Co., Ltd.; SANYO North America Corporation;

ROHM Co., Ltd.; ROHM Semiconductor U.S.A., LLC; Rubycon

8

302774488 v1
Corporation; Rubycon America, Inc.; Shinyei Kaisha; Shinyei
Technology Co., Ltd.; Shinyei Capacitor Co., Ltd.; Shinyei Corporation
of America, Inc.; Shizuki Electric Co., Ltd.; Soshin Electric Co., Ltd.;
Soshin Electronics of America Inc.; Taitsu Corporation; Taitsu America,
Inc.; and TOSHIN KOGYO Co., Ltd.

m. “Document” is synonymous in meaning and equal in scope to
the usage of this term in Fed. R. Civ. P. 34(a), including, without
limitation, electronic or computerized data compilations. A draft or non-
identical copy is a separate document within the meaning of this term.

n. “Effective Date” means the first date after which all of the
following events and conditions have been met or have occurred:

1. All Settling Parties have executed this Settlement
Agreement;

2. The Court has entered an order (following preliminary
approval of the Settlement Agreement, notice to the Class,
and a fairness hearing), approving this Settlement Agreement
under Rule 23(e) of the Federal Rules of Civil Procedure and
dismissing the Action against Panasonic with prejudice as to
all Class Members (the “Final Judgment’); and

_3. The Final Judgment has become final, with the
occurrence of the following: (a) the expiration of the time for
appeal or to seek permission to appeal from the Court’s

302774488 v1
approval of the Settlement Agreement and entry of the Final
Judgment or (b) if an appeal from an approval and Final
Judgment is taken, the affirmance of such Final Judgment in
its entirety, without modification, by the court of last resort to
which an appeal of such Final Judgment may be taken,
provided, however, a modification or reversal on appeal of
any amount of Class Counsel’s fees and expenses awarded by
the Court from the Settlement Fund or any plan of allocation
or distribution of the Settlement Fund shall not be deemed a
modification or reversal of all or part of the terms of this
Settlement Agreement or the Final Judgment. Neither the
provisions of Rule 60 of the Federal Rules of Civil Procedure
nor the All Writs Act, 28 U.S.C. § 1651, shall be taken into
account in determining the above-stated times.

o. “Escrow Account” means that escrow account to be
established with a bank or trust company pursuant to the terms and
conditions of the Escrow Agreement.

p. “Escrow Agent” means the bank or trust company that agrees
to establish and maintain the Escrow Account pursuant to the terms of
the Escrow Agreement.

q. “Escrow Agreement” means an escrow agreement in a form
mutually satisfactory to the Class and Panasonic.

r. “Final Judgment” means a final order approving the

Settlement Agreement under Rule 23(e) of the Federal Rules of Civil

10

302774488 vt
Procedure and dismissing the Action and all claims therein against
Panasonic with prejudice as to all Class Members.

s. “Person” means an individual or an entity.

t. “Preliminary Approval Motion” means a motion requesting
entry of an order in form and substance mutually satisfactory to the
Class and Panasonic preliminarily approving the settlement and
authorizing dissemination of notice to the Class that includes notice of
the opportunity to opt-out, and scheduling a hearing for final approval of
the settlement and for an award of attorneys’ fees, reimbursement of
costs, and service awards to Class Members.

u. “Released Claims” means those claims released pursuant to
this Settlement Agreement.

v. “Releasees” refers to Panasonic and its Affiliates, and their
respective past and present officers, directors, employees, managers,
members, partners, agents, attorneys and legal representatives, assigns,
servants, and representatives, and the predecessors, successors, heirs,
executors, administrators, and assigns of each of the foregoing.

11

302774488 v1
w. “Releasors” refers to Named Plaintiffs and all members of
the Class, and their respective past and present parents, members,
subsidiaries, Affiliates, officers, directors, employees, agents, attorneys,
servants, and representatives and the predecessors, successors, heirs,
executors, administrators, and assigns of each of the foregoing.

x. “Settlement” means the settlement of the Released Claims set
forth herein.

y. “Settlement Agreement” means this Settlement Agreement.

z. “Settlement Amount” means exactly the sum of Forty-Five
Million USD ($45,000,000) payable in the lawful money of the United
States.

aa. “Settlement Fund” means any amount paid by Panasonic
towards the Settlement Amount, and any interest earned on that amount.

bb. “Settling Parties” means, collectively, the Class and
_ Panasonic.

cc. “U.S. Purchases” shall mean purchases of Capacitors directly
from all Defendants other than a Defendant adjudicated not to have

participated in a conspiracy as alleged in the Action and other than a

12

302774488 vi
Defendant voluntarily dismissed from the Action on the basis of
insufficient evidence that the dismissed Defendant participated in a
conspiracy as alleged in the Action, where the Capacitors were shipped
to a location within the United States or the related invoices were sent to
a location within the United States.

Approval of this Settlement Agreement and Dismissal of

Claims

1. Best Efforts to Effectuate this Settlement. The Class and
Panasonic shall use their best efforts to effectuate this Settlement
Agreement, and they shall cooperate in the Class’s efforts to seek and
obtain the Court’s preliminary and final approval of this Settlement
Agreement (including providing appropriate affidavits and cooperating
to provide the Class with notice under Federal Rules of Civil Procedure
23 (c) and (e)) and to secure the prompt, complete, and final dismissal
with prejudice of the Action as to Panasonic only.

2. Motion for Preliminary Approval and Notice to Class
Members. Plaintiffs shall submit this Settlement Agreement to the Court

with a Motion for Preliminary Approval requesting entry of an order in

13

302774488 v1
form and substance mutually satisfactory to the Class and Panasonic
preliminarily approving the settlement, authorizing dissemination of
notice to the Class that includes notice of the opportunity to opt-out, and
scheduling a hearing for final approval of the settlement, and seeking an
advance for costs of settlement notice and related administrative costs
(the “Preliminary Approval Motion”). Additionally, in the notice to the
Class, Plaintiffs may give notice of their intention to seek an award of
attorneys’ fees, reimbursement of costs, and service awards to the

Named Plaintiffs.

3. The Preliminary Approval Motion shall include the proposed
form of, method for, and timetable for dissemination of notice to the
Class and shall recite and ask the Court to find that the proposed form
and method for dissemination of the notice to the Class constitutes valid,
due and sufficient notice to the Class, constitutes the best notice
practicable under the circumstances, and complies fully with the
requirements of Federal Rule of Civil Procedure 23.

4. Class Counsel may, to the extent practicable, seek to combine

dissemination of notice of this Settlement Agreement with notice of

14

302774488 v1
other settlement agreements reached with other Defendants to reduce the
expense of notice. The text of any combined notice shall be agreed upon
by Plaintiffs, Panasonic, and any other settling Defendant before
submission of the notice to the Court for approval.

5. Claims Administrator. The Class shall retain a Claims
Administrator, which shall be responsible for the claims administration
process, distribution to Class Members, withholding and paying
applicable taxes, and other duties as provided herein. The fees and
expenses of the Claims Administrator shall be paid exclusively out of the
Settlement Fund. In no event shall Panasonic be separately responsible
for any fees or expenses of the Claims Administrator other than provided
by this Settlement Agreement.

Final Approval

6. Motion for Final Approval and Entry of Final Judgment.
Not less than thirty-five (35) days prior to the date set by the Court to
consider whether this Settlement should be finally approved, Plaintiffs
shall submit, and Panasonic shall not object to, a Motion for Final

Approval of the Settlement by the Court, seeking the following:

15

302774488 vi
302774488 v1

Fully and finally approving this Settlement Agreement
and its terms as being a fair, reasonable, and adequate
settlement as to the Class Members within the meaning
of Rule 23(e) of the Federal Rules of Civil Procedure
and directing its consummation according to its terms
and conditions;

Finding that the notice given to Class Members
constitutes the best notice practicable under the
circumstances and complies in all due respects with the
due, adequate and sufficient notice requirements of
Federal Rule of Civil Procedure 23, and meets the
requirements of due process;

Directing that, as to Panasonic, the Action be dismissed:
with prejudice and, except as provided for in this
Settlement Agreement, without costs;

Discharging and releasing the Releasees from the
Released Claims;

Permanently barring and enjoining the institution and
prosecution, by Named Plaintiffs and Class Members,
of any other action against the Releasees based on the
Released Claims;

Reserving continuing and exclusive jurisdiction over
the Settlement and this Settlement Agreement,
including all future proceedings concerning the -
administration, interpretation, consummation, and
enforcement of this settlement, to the District Court;
and

Finding under Federal Rule of Civil Procedure 54(b)
that there is no just reason for delay and directing that
the judgment of dismissal as to Panasonic shall be final
and entered forthwith.

16
In conjunction with or promptly after the Court fully and finally
approves this Settlement Agreement and its terms, Plaintiffs shall seek
entry of Final Judgment as to Panasonic.

7. At least five (5) business days prior to the filing of the
Preliminary Approval Motion and the Motion for Final Approval of the
Settlement, Class Counsel will send working drafts of these papers to
counsel for Panasonic. The text of any proposed form of order
preliminarily or finally approving the Settlement shall be agreed upon by
Plaintiffs and Panasonic before it is submitted to the Court and shall be
consistent with the terms of this Settlement Agreement and the Class
definition set forth herein.

8. Stay Order. Upon the execution of this Settlement
Agreement, the Action with respect to the Class shall be stayed as
against Panasonic only. Should the Action be tried against any or all of
the remaining Defendants, the parties specifically agree that any findings
_ therein shall not be binding on or admissible in evidence against
Panasonic or prejudice Panasonic in any way in any future proceeding

involving Panasonic and the Class. Neither Panasonic nor the Class shall

17

302774488 v1
file motions against the other or initiate or participate in any discovery,
motion, or proceeding directly adverse to the other in connection with
the Action, except as specifically provided for herein. The Settling
Parties agree that Panasonic will not make available to the remaining
parties in the Class litigation any expert witnesses or the underlying
work product of any expert witnesses retained solely by Panasonic to be
used against the Class, without prejudice to Panasonic’s ability to rely
on such expert witnesses or work product in any other case that is
consolidated into the multidistrict litigation or proceeding

separately. Panasonic and the Class shall not be obligated to engage in, |
respond to or supplement prior responses to formal or informal
discovery that has been previously propounded or initiated by the other
in the Action. Notwithstanding the above, Panasonic agrees that Class
Counsel may participate in and ask questions at depositions, if any, of
Panasonic witnesses noticed by other plaintiffs in any litigation,
including this Action, that has been consolidated or centralized in this

multidistrict litigation styled In re Capacitors Antitrust Litigation,

Master Docket No. 17-md-02801-JD (N.D. Cal.). Nothing in this

18

302774488 vi
agreement shall be construed to preclude the Class from accessing any
discovery produced by any party or third-party in connection with any
litigation, including this action, that has been consolidated or centralized
in this multidistrict litigation.

9. Upon the date that the Court enters an order preliminarily
approving the Settlement Agreement, members of the Class shall be
barred and enjoined from commencing, instituting or continuing to
prosecute any action or any proceeding in any court of law or equity,
arbitration tribunal, administrative forum or other forum of any kind
based on the Released Claims.

10. Nothing in this Settlement Agreement shall prohibit the Class
or Class Counsel from continuing to participate in discovery in the
Action against each other, other Defendants, or third parties.

Release and Discharge

11. Released Claims. \n addition to the effect of the Final
Judgment entered in accordance with this Settlement Agreement, upon
the occurrence of the Effective Date and in consideration of payment of

the Settlement Amount and cooperation, the Releasees shall be

19

302774488 v1
completely released, acquitted, and forever discharged from any and all
manner of claims, demands, rights, actions, suits, and causes of action,
whether class, individual, or otherwise in nature, damages whenever
incurred, liabilities of any nature whatsoever, including costs, expenses,
penalties, injuries, and attorneys’ fees that Releasors, or any one of
them, whether directly, representatively, derivatively, or in any other
capacity, ever had, now have, or hereafter can, shall, or may have against
the Releasees, relating to the conduct by Releasees alleged in the Action
and any joint and several liability arising from the conduct of any of the
Defendants in the Action prior to the Effective Date arising under or
relating to any federal or state antitrust laws, unfair competition, unfair
practices or trade practice laws, civil conspiracy, or common law or
statutory fraud claims, whether such claims are known or unknown,
suspected or unsuspected, asserted or unasserted, foreseen or unforeseen,
actual or contingent, liquidated or unliquidated, regardless of legal
theory and regardless of the type or amount of relief or damages
claimed, or claims that have been, could have been, or in the future

might have in law or in equity, on account or arising out of, resulting

20

302774488 v1
from, or in any way related to any conduct regardless of where it
occurred at any time prior to December 31, 2013 concerning the
purchase, pricing, selling, invoicing, discounting, marketing,
manufacturing and/or distributing of Capacitors in the United States and
its territories or for delivery in the United States and its territories. The
Released Claims also include, but are not limited to, all claims asserted
or which could have been asserted in the Action relating to or arising out
of the facts, occurrences, transactions, statements, or other matters
alleged in this Action including, but not limited to, claims arising under
federal or state antitrust, unfair competition, unfair practices, price
discrimination, unitary pricing, trade practice, or civil conspiracy law,
including without limitation the Sherman Act, 15 U.S.C. § 1 et seq., but
only to the extent they concern the purchase, pricing, selling, invoicing,
discounting, marketing, manufacturing and/or distributing of Capacitors
in the United States and its territories or for delivery in the United States
and its territories, and excluding (a) any claim for any product defect,
breach of warranty, breach of contract, trade claims, claims under the

Uniform Commercial Code or similar claims between Class Members

21

302774488 v1
and Panasonic relating to Capacitors or any claim for personal or bodily
injury, and (b) claims based on indirect purchases of Capacitors.

12. Covenant Not to Sue. Releasors shall not, after the Effective
Date of this Settlement Agreement, assert any claim or commence,
institute, maintain or prosecute any suit, action, complaint, or proceeding
seeking to recover against Panasonic or any of the Releasees based on
any of the Released Claims, whether on his, her, or its own behalf or as
part of any putative, purported or certified class of purchasers. Releasors
and Class Counsel acknowledge that they and Panasonic each consider it
to be a material term of this Settlement Agreement that all Releasors will
be bound by the provisions of this paragraph.

13. Upon the acceptance by the Claims Administrator and
approval by the Court of a claim timely submitted by an Authorized
Claimant, Panasonic waives and relinquishes as against each such
Authorized Claimant any rights pursuant to arbitration agreements,
forum selection clauses, and/or jury waiver clauses with respect to the

Released Claims.

22

302774488 v1
14. Waiver of California Civil Code § 1542 and Similar Laws.

The Releasors acknowledge that for the consideration received
hereunder, it is their intention to release, and they are releasing all
Released Claims, whether known or unknown. In furtherance of this
intention, the Releasors expressly waive and relinquish, to the fullest
extent permitted by law, any rights or benefits conferred by the
provisions of California Civil Code Section 1542 (“Section 1542”) and
similar provisions in other states. The Releasors acknowledge that they
have been advised by Class Counsel of the contents and effects of
California Civil Code Section 1542, which provides:

A general release does not extend to claims that

the creditor or releasing party does not know

or suspect to exist in his or her favor at the

time of executing the release and that, if known

by him or her, would have materially affected

his or her settlement with the debtor or
released party.

15. The provisions of the release set forth above in Paragraph 11
shall apply according to their terms, regardless of provisions of Section
1542 or any equivalent, similar, or comparable present or future law or

principle of law of any jurisdiction. The Releasors may hereafter

23

302774488 v1
discover facts other than or different from those that they know or
believe to be true with respect to the subject matter of the Released
Claims, but the Releasors hereby expressly waive and fully, finally, and
forever relinquish any and all rights and benefits existing under (i)
Section 1542 or any equivalent, similar, or comparable present or future
law or principle of law of any jurisdiction and (ii) any law or principle of
law of any jurisdiction that would limit or restrict the effect or scope of
the provisions of the release set forth herein.

16. Claims Excluded from Release. Nothing in this Settlement
Agreement is intended to limit, reduce or affect whatever rights Class
Members or any of them may have to seek damages or other relief in the
Action or elsewhere from any person or entity other than Panasonic
and/or any Releasee, as that term is defined herein, to the fullest extent
allowed by law. This Settlement Agreement does not settle or
compromise any claim by Class Members asserted in the Action against
any other Defendant. Panasonic’s sales to the Class shall not be removed
from the Action for purposes of the Class asserting joint and several

liability or any derivative liability against any other Defendant.

24

302774488 v1
Settlement Consideration

17. Settlement Payment. Subject to the provisions hereof, and in
full, complete, and final settlement of the Action as provided herein,
Panasonic shall pay into the Escrow Account the Settlement Amount of
$45,000,000.00 USD, payable in the lawful money of the United States
no later than 60 days after execution of this agreement, subject to the
receipt by Panasonic of an original copy of a written request for payment
from Plaintiffs in the format provided by Panasonic.

18. Notice Fees and Costs. Upon the Court’s order granting the
Preliminary Approval Motion, the Settlement Fund shall be immediately
available for rembursement of costs, fees, and expenses related to
providing notice to the Class. For purposes of clarification, such costs,
fees, and expenses related to notice to the Class Members shall be paid
exclusively from the Settlement Fund.

19. Cooperation as Consideration. In addition to the Settlement
Amount as consideration for the Settlement Agreement, Panasonic will
also provide cooperation to the Class as set forth below, except that

Panasonic shall not be obligated to provide cooperation that would

25

- 302774488 v1
violate any court order or a directive of a governmental enforcement

authority.

302774488 v1

a.

Panasonic shall continue to provide full cooperation
consistent with the satisfactory cooperation that would
be required for it to obtain a reduction in liability as a |
leniency applicant under ACPERA in the absence of the
Settlement;

As expressly stated in the ACPERA statute, Panasonic’s
cooperation under ACPERA shall include “using its
best efforts to secure and facilitate” cooperation of
Panasonic witnesses to be available for interviews,
depositions, and testimony including at trial, including
but not limited to the individuals previously deposed in
this Action.

Panasonic shall also use its best efforts to secure and
facilitate cooperation from Panasonic witnesses
previously requested for deposition and identified as

former employees. Such best efforts shall include the

26
exhaustion of all reasonable means available to reach
said individuals.

d. Plaintiffs shall notify Panasonic of all such individuals
that Plaintiffs seek for interviews, depositions or to
testify at trial no later than 30 days prior to the first day
of trial. Plaintiffs shall reimburse Panasonic for 50% of
the cost of travel expenses, including hotel
accommodations, that Panasonic incurs in connection
with such interviews, depositions and testimony
including at trial, including the cost of an interpreter(s).

20. Except for disputes concerning whether Panasonic’s
cooperation would violate any court order or a directive of a
governmental enforcement authority, all disputes regarding the extent of
Panasonic’s cooperation obligations or its performance of those
obligations shall be submitted to the Court for resolution.

21. Unless this Settlement Agreement is rescinded, disapproved,

or otherwise fails to take effect, Panasonic’s obligations to cooperate

27

302774488 v1
under this Settlement Agreement shall continue until the date that Final
Judgment has been rendered in the Action with respect to all Defendants.

22. No Other Discovery. Upon the Execution Date, neither
Panasonic nor the Class shall file motions against the other or initiate or
participate in any discovery, motion, or proceeding directly adverse to
the other in connection with the Action, except as specifically provided
for herein.

Settlement Fund

23. Each Class Member shall look solely to the Settlement Fund
for settlement and satisfaction, as provided herein, of all claims released
by the Releasors. Except as provided by order of the Court, upon finally
approving and giving effect to the Settlement Agreement, no Class
Member shall have any interest in the Settlement Fund or any portion
thereof.

24. Before the Effective Date, disbursements for expenses
associated with providing notice of the settlement to the Class, expenses
associated with administering the settlement, and any payments and

expenses incurred in connection with taxation matters relating to the

28

302774488 v1
settlement and this Settlement Agreement may be made from the
Settlement Fund. In the event the Settlement Agreement is disapproved,
rescinded, or the Effective Date does not occur, such amounts shall be
refunded to Panasonic.

25. The Settlement Fund will be invested in instruments secured
by the full faith and credit of the United States and any interest earned
(or negative interest) thereon shall become part of (or paid from) the
Settlement Fund. Such portions of the Settlement Fund as may
reasonably be needed to pay current expenses associated with providing
notice to the Class and administering the Settlement Fund may be paid
from the Escrow Account.

26. No Liability for Distribution of Settlement Fund. Neither
the Releasees nor their counsel shall have any responsibility for, interest
in, financial obligation for, or liability whatsoever with respect to the
investment, distribution, use, or administration of the Settlement Fund,
including, but not limited to, the costs and expenses of such investment,
distribution, or administration, except as otherwise provided in this

Settlement Agreement. Panasonic and its counsel shall likewise have no

29

302774488 v1
responsibility for, interest in, financial obligation for, or liability
whatsoever with respect to the allocation or distribution of the
Settlement Fund and shall not be responsible or otherwise liable for any
disputes relating to the amount, allocation, or distribution of any fees,
costs, or awards. Further, after paying the Settlement Amount, Panasonic
shall not be liable for any additional payments to the Class Members or
Class Counsel pursuant to this Settlement Agreement.

27. Distribution of Net Settlement Fund. After the Effective
Date, the Settlement Fund shall be distributed in accordance with a
distribution plan that Class Counsel shall submit at the appropriate time
for approval by the Court.

28. Attorneys’ Fees. Class Counsel may, in its sole discretion,
seek an award of attorneys’ fees, reimbursement of expenses, and
service awards to Class Members at the time of filing the Preliminary
Approval Motion or at the time Notice is disseminated to the Class or in
a subsequent notice to the Class.

29. The procedure for, and the allowance or disallowance by the

Court of, any application by Class Counsel for attorneys’ fees and

30

302774488 v1
expenses are not part of the settlement, and are to be considered by the
Court separately from the Court’s consideration of the fairness,
reasonableness and adequacy of the settlement. Any order or proceeding
relating to any application for, or approval of, attorneys’ fees and
expenses, the pendency of any such application, or any appeal or review
of an order relating thereto or reversal or modification thereof, shall not
operate to terminate or cancel this Settlement Agreement, or affect or
delay the finality of the Final Judgment.

30. Class Counsel shall have sole authority to determine the
allocation of attorneys’ fees awarded by the Court. Panasonic shall have
no responsibility for, and no liability whatsoever with respect to, the
division of attorneys’ fees and expenses among Plaintiffs’ counsel, and
any negotiation or dispute among Plaintiffs’ counsel in that regard shall
not operate to terminate or cancel this Settlement Agreement, or affect or
delay the finality of the Judgment. Panasonic shall have no responsibility
for, and no liability whatsoever with respect to, any payment(s) to
Plaintiffs’ counsel or to any other counsel representing any Class

Member or the Class pursuant to this Settlement Agreement and/or to

31

302774488 v1
any other person who may assert some claim thereto or any fee and
expense award that the Court may make in this Action, other than as set
forth in this Settlement Agreement.

31. The Class and Class Counsel and any other counsel
representing any Class Member or the Class shall be reimbursed and
paid solely out of the Settlement Fund for all costs, fees and expenses
including, but not limited to, attorneys’ fees; past, current, or future
litigation expenses (including, but not limited to, experts’ and
consultants’ fees and expenses); the costs of giving notice of this
settlement to the Class; and any service awards to the Class Members,
subject to notice to the Class and application to and approval of the
Court.

32. At the discretion of Class Counsel, disbursement of such
fees, costs, and expenses, as ordered by the Court, need not be delayed
by reason of any appeal of the Final Judgment; provided, however, if the
Court’s award of fees, costs, and expenses is vacated, reversed, or
reduced on or as a result of an appeal, Class Counsel shall within ten

(10) business days after receiving written notice from the Court of such

32

302774488 v1
vacatur, reversal, or reduction, make a refund to the Escrow Account in

the amount of such vacatur, reversal, or reduction with interest, except

for any expenses or costs relating to settlement administration, notice to

Class Members, and the payment of taxes as set forth in Paragraphs

33(a)(1)-(ii1) & 33(b)(i1)-(i11) of this Settlement Agreement.

Disbursement of the Settlement Fund

33. The Settlement Fund shall be disbursed as follows, or as

otherwise ordered by the Court.

a.

302774488 v1

Prior to entry of Final Judgment:

i. Any fees and expenses incurred in administering
the Escrow Account and the Settlement Fund shall be
paid from the Settlement Fund. The costs of settlement
notice and administration of the Settlement Agreement
and Settlement Fund shall be paid by the Escrow Agent
to the Claims Administrator with notice of such
payments prior to entry of Final Judgment provided to
counsel for the Settling Parties. After the Effective
Date, notice shall be provided to Class Counsel.

ii. Disbursements for the payment of any taxes
(including any estimated taxes, interest or penalties)
due, as a result of income earned by the Settlement
Fund, shall be made promptly by the Escrow Agent
with notice of such disbursements prior to entry of
Final Judgment provided to counsel for the Settling
Parties. After entry of Final Judgment, notice shall be
provided to Class Counsel.

33
302774488 v1

ili. The Settlement Fund shall be made available to
Class Counsel for purposes of paying the actual cost of
settlement notice and related administrative costs; |

After entry of Final Judgment:

i. The attorneys’ fees and litigation expenses
approved by the Court may be distributed to Class
Counsel from the Settlement Fund within five (5) days
of an order approving attorneys’ fees and expenses.
Class Counsel may withdraw from the Settlement Fund
and allocate amongst counsel for the Plaintiffs any fees
and expenses so awarded to them by the Court;
provided, however, that in the event that the order(s)
approving the fee and expense award is reversed or
modified on appeal, and in the event that counsel for

— the Plaintiffs (or any of them) has received payment,

such counsel shall, within ten (10) business days of the
date which the fee and expense award is modified or
reversed, refund to the Settlement Fund the fees and
expenses previously received by them in full (less costs
of notice) or in any amount consistent with such
reversal or modification, plus any actual interest earned
thereon through the date of such refund;

ii. | Fees or expenses incurred in connection with the
administration of the Escrow Account and the
Settlement Fund, including the fees and expenses
incurred as part of notice and claims administration,
shall be paid from the Settlement Fund by the Escrow
Agent with notice of such disbursements provided to
Class Counsel;

iii. Disbursements for the payment of any taxes
(including any estimated taxes, interest or penalties)
due as a result of income earned by the Settlement Fund

34.
shall be made promptly by the Escrow Agent with
notice of such disbursements provided to counsel for
the Settling Parties.

c. After the Effective Date:

i. Any service awards awarded by the Court for
services rendered to the Class by Class Representatives
as set forth in the proposed notice forms ordered by the
Court may be distributed to Class Members from the
Settlement Fund after the Effective Date of the
Settlement; and

li. The balance of the Settlement Fund after the
payment of attorneys’ fees, costs, and expenses, taxes,
service awards, costs of notice, and administration of
the Settlement and Settlement Fund, and pursuant to the
procedures set forth in a plan of allocation, may be
distributed to Authorized Claimants in accordance with
the applicable procedures as approved by the Court.

34. Balance Remaining in Settlement Fund. In the event
monies remain as residue in the Settlement Fund following all
distribution efforts approved by the Court (whether by reason of tax
refunds, uncashed checks or otherwise), Class Counsel shall move the
Court for an order disposing of all such funds, including additional
possible distributions to approved Class claimants. In the event that the

cost of distributing such residual funds exceeds the reasonable value of

35

302774488 vi
distributing such residual funds to class members, Class Counsel may
propose cy pres distribution to be approved by the Court.

35. Use of Agreement as Evidence. The Settling Parties agree
that this Settlement Agreement, whether or not it shall become final, and
any and all negotiations, documents, and discussions associated with it,
shall be governed by Federal Rule of Evidence 408 and shall not be
deemed or construed to be an admission or evidence of any violation of
any statute or law or of any liability or wrongdoing by Panasonic or of
the truth of any of the claims or allegations made in the Action, and
evidence thereof shall not be admissible or used directly or indirectly in
any way in the Action or in any other action or proceeding, except an
action to enforce or interpret the terms of the Settlement Agreement. The
parties expressly reserve all of their rights if the settlement does not
become final in accordance with the terms of this Settlement Agreement.
Taxes

36. Class Counsel shall be solely responsible for directing the
Claims Administrator to file all informational and other tax returns
necessary to report any taxable and/or net taxable income earned by the

36

302774488 vi
Settlement Fund. Further, Class Counsel shall be solely responsible for
directing the Escrow Agent to take out of the Settlement Fund, as and
when legally required, any tax payments, including interest and penalties
due on income earned by the Settlement Fund. Panasonic shall have no
responsibility to make any filings relating to the Settlement Fund and
shall have no responsibility to pay tax on any income earned by the
Settlement Fund or to pay any taxes on the Settlement Fund unless the
settlement is not consummated, and the Settlement Fund is returned to
Panasonic. Other than as specifically set forth herein, Panasonic shall
have no responsibility for the payment of taxes or tax expenses.

37. For the purpose of § 468B of the Internal Revenue Code of
1986, as amended, and the regulations promulgated thereunder, the
“Administrator” of the Escrow Account shall be the Claims
Administrator, who shall timely and properly file or cause to be filed on
a timely basis, all tax returns necessary or advisable with respect to the
Escrow Account (including without limitation all income tax returns, all

informational returns, and all returns described in Treas. Reg.

§ 1.468B2(1)).

37

302774488 v1
38. The Settling Parties shall treat, and shall cause the Claims
Administrator to treat, the Escrow Account as being at all times a
“qualified settlement fund” within the meaning of Treas. Reg.

§ 1.468B1. The parties, their counsel, the Claims Administrator, and the
Escrow Agent agree that they will not ask the Court to take any action
inconsistent with the treatment of the Escrow Account in such manner.
In addition, the Claims Administrator and, as required, the parties, shall
timely make such elections as necessary or advisable to carry out the
provisions of this paragraph, including the “relation-back election” (as
defined in Treas. Reg. § 1.468BI(j)) back to the earliest permitted date.
Such elections shall be made in compliance with the procedures and
requirements contained in such regulations. It shall be the responsibility
of the Claims Administrator timely and properly to prepare and deliver
the necessary documentation for signature by all necessary parties and
thereafter to cause the appropriate filing to occur. All provisions of this
Settlement Agreement shall be interpreted in a manner that is consistent
with the Escrow Account being a “qualified settlement fund” within the

meaning of Treas. Reg. § 1.468B1. Interest earned by the Settlement

38.

302774488 vi
Fund (less any tax imposed upon such interest) shall be for the benefit of
the Class, less reasonable attorneys’ fees and expenses approved by the
Court (and any interest awarded thereon), any Court-approved awards to
Plaintiffs, and payment of any and all administrative expenses associated
with the Action or the settlement.

Failure to Enter Preliminary Approval Order, Final Approval
Order or Judgment and Rights to Rescind the Settlement

Agreement
39. Ifthe Court declines to approve this Settlement Agreement,

or if such approval is materially modified or set aside on appeal, or if the
Court does not enter the Final Judgment as provided in Paragraph 8, or if
the Court enters the Final Judgment and order and appellate review is
sought and, on such review, such Final Judgment is not affirmed, then
Panasonic and the Class shall each, in their respective sole discretion,
have the option to rescind this Settlement Agreement in its entirety,
provided, however, that the Settling Parties agree to act in good faith to
secure Final Approval of this Settlement and agree to attempt in good
faith to address any issues raised by the Court or any court of appeals in

disapproving, materially modifying or setting aside the Settlement

39

302774488 v1
Agreement. After a reasonable period of such attempts to address any
such court identified issues, either Panasonic or the Class may rescind
this Settlement Agreement by providing 10 days written notice to the
undersigned counsel, by email and personal delivery or overnight
courier. Without limiting the foregoing, Panasonic shall have, in its sole
and absolute discretion, the option to rescind the Settlement in its
entirety in the event that the Final Judgment, upon becoming Final, does
not provide for the dismissal with prejudice of the Action against them.
Upon such notice of rescission, any and all amounts constituting the
Settlement Fund (including but not limited to, any fees, costs, and/or
expenses advanced to Class Counsel pursuant to Paragraphs 2 and 31-32
above) shall be returned forthwith to Panasonic, except for any
disbursements made or incurred in accordance with Paragraphs 18 and
33(a)(1)-(i11) & 35(b) (ii)-(iii) of this Settlement Agreement. In such
event, the Escrow Agent shall disburse the Settlement Fund to Panasonic
in accordance with this paragraph within fifteen (15) business days after
receipt of either (1) written notice signed by counsel for Panasonic and

Class Counsel stating that this Settlement Agreement has been canceled,

40

302774488 v1
rescinded or terminated or (11) any order of the Court so directing. If the
Settlement Agreement is rescinded, cancelled or terminated any
obligations pursuant to this Settlement Agreement (other than
disbursement of the Settlement Fund to Panasonic as set forth above)
shall cease immediately. A modification or reversal on appeal of any
amount of Class Counsel’s fees and expenses awarded by the Court from
the Settlement Fund shall not be deemed a modification of all or part of
this Settlement Agreement or the Final Judgment.

Miscellaneous

40. The Class expressly warrants that, in entering into this |
Settlement Agreement, they have relied solely upon their own
knowledge and investigation, and not upon any promise, representation,
warranty, or other statement by Panasonic not expressly contained in this
Settlement Agreement.

41. The agreed-upon procedures and requirements regarding
Class Members’ rights and options, including filing objections in
connection with and/or appearing at the final approval hearing, are

intended to ensure the efficient administration of justice and the orderly

Al

302774488 v1
presentation of any Class Members’ objections to the Settlement
Agreement, in accordance with such Class Members’ due process rights.
The Settling Parties will request that the order granting the Preliminary
Approval Motion further provide that objectors that fail to properly or
timely file their objections, along with the required information and
documentation set forth above, or to serve them as provided above, shall
not be heard during the Final Approval Hearing or have their objections
considered by the Court.

42. Headings. The headings used in this Settlement Agreement
are intended for the convenience of the reader only and shall not affect
the meaning or interpretation of this Settlement Agreement.

43. No Party Deemed To Be the Drafter. None of the parties
hereto shall be deemed to be the drafter of this Settlement Agreement or
any provision hereof for the purpose of any statute, case law, or rule of
interpretation or construction that would or might cause any provision to
be construed against the drafter hereof.

44. Entire Agreement. This Settlement Agreement constitutes the

entire completed agreement among the Class and Panasonic pertaining

42

302774488 v1
to the settlement of the Action against Panasonic. This Settlement
Agreement may be modified or amended only by a writing executed by
Class Counsel and Panasonic.

45. Ifany one or more of the provisions of this Settlement
Agreement shall for any reason be held to be illegal, invalid, or
unenforceable in any respect, such illegality, invalidity, or
unenforceability shall not affect any other provision if Panasonic’s
counsel and Class Counsel mutually agree to proceed as if such illegal,
invalid, or unenforceable provision had never been included in the
Settlement Agreement.

46. Choice of Law. All terms of this Settlement Agreement shall
be governed and interpreted according to the substantive laws of the
State of California without regard to its choice of law or conflict of laws
principles.

47. Consent to Jurisdiction. The Court retains exclusive
jurisdiction over all matters relating to the implementation and
enforcement of the Settlement Agreement. The Class and Panasonic

hereby irrevocably submit to the exclusive and continuing jurisdiction of

43

302774488 v1
the Court for any suit, action, proceeding or dispute arising out of or
related to this Settlement Agreement or the applicability or interpretation
of this Settlement Agreement.

48. Execution in Counterparts. This Settlement Agreement may
be executed in counterparts by Class Counsel and Panasonic, and a
facsimile or PDF signature shall be deemed an original signature for
purposes of executing this Settlement Agreement and so executed shall
constitute one agreement.

49. Notification of State Officials. Panasonic shall notify federal
and state officials of this settlement as specified in 28 U.S.C. §§ 1715(a)
& (b).

50. Binding Effect. This Settlement Agreement shall be binding
upon, and inure to the benefit of, the successors and assigns of the
parties hereto. Without limiting the generality of the foregoing, each and
every covenant and agreement herein by the Class and Class Counsel
shall be binding upon all Class Members.

51. . Authorization to Enter Settlement Agreement. Each of the

undersigned attorneys represents that he or she is fully authorized to

44

302774488 v1
conduct settlement negotiations and to enter into the terms and
conditions of, and to execute, this Settlement Agreement on behalf of his
or her respective clients, subject to Court approval.

52. Confidentiality of Settlement Negotiations. Class Counsel
shall keep strictly confidential and not disclose to any third party,
including specifically any counsel representing any other current or
former party to the Action, any non-public information regarding the
Settling Parties’ negotiation of this settlement and/or the Settlement
Agreement, except that the Settling Parties may file under seal any
documents concerning this Settlement or the negotiation of the
Settlement Agreement in connection with a motion or proceeding to
enforce or contest the terms of this Settlement Agreement. For the sake
of clarity, information contained within this Settlement Agreement shall
be considered public.

53. Notices. Unless otherwise specifically provided for herein,
any notice or other communication required or permitted to be delivered
to any party under this Settlement Agreement shall be in writing and

shall be deemed properly delivered, given and received when delivered

45

302774488 v1
to the address set forth beneath the name of such party signing below.

46

302774488 v1
IN WITNESS WHEREOF, the parties hereto, through their fully
authorized representatives, have agreed to this Settlement Agreement as

of February /7, 2020.

By: _, Ltt.

Date Febemary 14,2020

 

Joseph R. Saveri

JOSEPH SAVERI LAW FIRM,
INC.

601 California Street, Suite 1000
San Francisco, CA 94108

jsaveri@saverilawfirm.com

Lead Counsel for the Direct
Purchaser Class

47

302774488 vi
PANASONIC CORPORATION
By: YF Towoec
Name: Yasuhiro Tanaka

Title: Director of Device Solutions Business Division,
Industrial Solutions Company, Panasonic Corporation

Date: February Li, 2020

48

302774488 v1
